Case: 1:20-cv-07807 Document #: 65 Filed: 08/15/22 Page 1 of 8 PageID #:452
Case: 1:20-cv-07807 Document #: 65 Filed: 08/15/22 Page 2 of 8 PageID #:453
Case: 1:20-cv-07807 Document #: 65 Filed: 08/15/22 Page 3 of 8 PageID #:454
Case: 1:20-cv-07807 Document #: 65 Filed: 08/15/22 Page 4 of 8 PageID #:455
Case: 1:20-cv-07807 Document #: 65 Filed: 08/15/22 Page 5 of 8 PageID #:456
Case: 1:20-cv-07807 Document #: 65 Filed: 08/15/22 Page 6 of 8 PageID #:457
Case: 1:20-cv-07807 Document #: 65 Filed: 08/15/22 Page 7 of 8 PageID #:458
Case: 1:20-cv-07807 Document #: 65 Filed: 08/15/22 Page 8 of 8 PageID #:459
